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                                           UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF TEXAS
                                               SAN ANTONIO DIVISION

PATRICIA CHAMPION                                                                          §
                                                                                                           §
VS.                                                                                                    §                                           C.A. N O .     5:16-
                                                                                                   §                                                              cv-112
W A L - M A R T STORESTEXAS,                                                       §
W A L - M A R T REAL ESTATE BUSINESS                                           §
TRUST D/B/AW A L - M A R T                                                             §
#2599, W A L - M A R T R E A L T Y C O M P A N Y ,                         §

AND CHARLES RODRIGUEZ                                                                          §                                      JURY DEMANDED

                      N O T I C E O F R E M O V A L O F A C T I O N U N D E R 28 U . S . C .                                             1441

T O T H E CLERIC OF T H E A B O V E E N T I T L E D COURT:

            Please take notice that Defendants, W a l - M a r t Stores Texas, L . L . C . , W a l - M a r t                                             Estate

B u s i n e s s T r u s t d/b/a W a l - M a r t S u p e r c e n t e r # 2 5 9 9 , W a l - M a r t R e a l t y C o m p a n y a n d C h a r l e s

R o d r i g u e z , h e r e b y r e m o v e t o the C o u r t the state a c t i o n described b e l o w .

                       O n November 23,                       a c i v i l action was c o m m e n c e d , i n the                             District Court o f

Bexar County, Texas,                                                                                           Wal-Mart Stores Texas, LLC,      Wal-MartReal

Estate Business Trust d/b/a Wal-Mart Supercenter #2599, Wal-Mart Realty Company and Charles

Rodriguez, C a u s e N o . 2 0 1 5 C I 1 9 5 1 5 . A c o p y o f P l a i n t i f f s O r i g i n a l P e t i t i o n i s a t t a c h e d h e r e t o a s

Exhibit A.

                       Service o f s u m m o n s and c o m p l a i n t was made o n Defendants, W a l - M a r t Stores T e x a s ,

L . L . C . , W a l - M a r t R e a l Estate Business T r u s t d/h/a W a l - M a r t Supercenter # 2 5 9 9 , W a l - M a r t R e a l t y

C o m p a n y b y serving their registered agent, C . T . C o r p o r a t i o n S y s t e m , b y process server o n January

12, 2 0 1 5 .     Service o f s u m m o n s and complaint was made o n Defendant, Charles Rodriguez b y

process server o n January                               A t t o r n e y s for Defendants first received a copy o f said P e t i t i o n

on January             2 0 1 6 . A c o p y o f the C i t a t i o n s are attached hereto as E x h i b i t B .
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             3.           D e f e n d a n t s h a v e f i l e d a n A n s w e r , a t t a c h e d as E x h i b i t C , a n A p p l i c a t i o n f o r J u r y

 T r i a l , a t t a c h e d a s E x h i b i t D , S p e c i a l E x c e p t i o n s , a t t a c h e d as E x h i b i t E , a n d a N o t i c e o f F i l i n g o f

 R e m o v a l t o F e d e r a l C o u r t , a t t a c h e d as E x h i b i t F . D e f e n d a n t s h a v e a t t a c h e d a l l p r o c e s s , p l e a d i n g s ,

 a n d orders i n t h e State C o u r t a c t i o n as r e q u i r e d b y 2 8 U . S . C . 1 4 4 6 ( a ) .

             4.           Defendants have attached a copy o f the docket                                             Exhibit G.

                                                       JURISDICTION AND VENUE

                                                                        A. Standard

             5.           T h e a c t i o n is a c i v i l a c t i o n o f w h i c h t h i s C o u r t h a s o r i g i n a l                        under Title

28 U.S.C. §                    ( D i v e r s i t y J u r i s d i c t i o n ) , a n d is one w h i c h m a y be r e m o v e d t o this C o u r t pursuant

to Title 2 8 U.S.C. §                   1441.        T h e r e is complete diversity o f citizenship amongst t h e parties.

D e f e n d a n t , W a l - M a r t Stores T e x a s , L L C is a L i m i t e d L i a b i l i t y C o m p a n y f o r m e d under the l a w s o f

D e l a w a r e , w i t h its principal place o f business i n Arkansas.                                    Defendant, W a l - M a r t Real Estate

Business T r u s t is a statutory trust f o r m e d under the laws o f the State o f Delaware. T h e sole trustee

for this s t a t u t o r y trust is W a l - M a r t P r o p e r t y C o . , a c o r p o r a t i o n i n c o r p o r a t e d under the l a w s o f the

State o f D e l a w a r e , w i t h its p r i n c i p a l place o f Business i n the State o f A r k a n s a s . Defendant W a l -

M a r t R e a l t y C o . I s a corporation incorporated under the l a w s o f the State o f A r k a n s a s w i t h its

principal place o f business i n the State o f Arkansas.                                   P l a i n t i f f is a T e x a s citizen.

             6.           T h e a m o u n t i n controversy exceeds t h e s u m o f                                                      thousand dollars

( $ 7 5 , 0 0 0 . 0 0 ) , e x c l u s i v e o f interest a n d costs.               P l a i n t i f f has p l e d that h e r damages a r e " o v e r

$ 1 , 0 0 0 , 0 0 0 . 0 0 . " {See                     O r i g i n a l P e t i t i o n , pg. 9 attached hereto as E x h i b i t A ) .

             7.           V e n u e is proper i n the W e s t e r n D i s t r i c t o f T e x a s , S a n A n t o n i o D i v i s i o n because t h i s

district a n d d i v i s i o n embrace t h e place i n w h i c h the a c t i o n is p e n d i n g .

            B. T h e I m p r o p e r Joinder of the W a l - M a r t Employee does not Defeat Diversity

             8.           Charles Rodriguez, a manager at the W a l - M a r t store w h e r e the alleged incident



E:                           of                                                                                                                           Page 2
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 occurred, is a T e x a s citizen, w i t h his residence i n B e x a r C o u n t y , T e x a s .

             9.           A t t h e t i m e s u i t w a s f i l e d , a n d at t h e t i m e o f t h i s r e m o v a l a c t i o n , C h a r l e s R o d r i g u e z

 w a s a n e m p l o y e e o f W a l - M a r t s e r v i n g as a m a n a g e r o f W a l - M a r t store # 2 5 9 9 , located at 5 5 5 5 D e

 Zavala Road, San Antonio, Texas 78249.

                          T h e c i t i z e n s h i p o f W a l - M a r t ' s manager, C h a r l e s R o d r i g u e z , s h o u l d be disregarded

 f o r diversity purposes because h e has h e e n i m p r o p e r l y j o i n e d i n this suit. P l a i n t i f f alleges that

 Defendants breached their duty o f care i n their failure t o "use o r d i n a r y care i n the safety o f

P L A I N T I F F . . . " (See                         O r i g i n a l P e t i t i o n , pg. 3 attached hereto as E x h i b i t A . )

                             H o w e v e r , there is n o p o s s i b i l i t y that the P l a i n t i f f can establish a cause o f action

a g a i n s t W a l - M a r t ' s m a n a g e r , C h a r l e s R o d r i g u e z , a n d as s u c h , h i s i n - s t a t e c i t i z e n s h i p s h o u l d b e

ignored w h e n determining                                 jurisdiction.                                              Cent. R.R. C o . , 3 8 5 F . 3 d 5 6 8 ,

5 7 3 ( 5 t h C i r . 2 0 0 4 ) ; Carriere v. Sears, Roebuck and Co., 8 9 3 F . 2 d 9 8 , 1 0 0 ( 5 t h C i r . 1 9 9 0 ) ; B. Inc.

V. Miller Brewing Co., 6 6 3 F . 2 d 5 4 5 , 5 4 9

                         F u r t h e r , there h a v e b e e n n o a l l e g a t i o n s , and t h e facts do n o t support, t h a t W a l - M a r t ' s

manager, Charles R o d r i g u e z o w e s the P l a i n t i f f any independent d u t y o f reasonable care apart f r o m

t h a t d u t y o w e d b y h i s e m p l o y e r , W a l - M a r t , a n d as s u c h , t h e r e i s n o r e a s o n a b l e p o s s i b i l i t y o f r e c o v e r y

a g a i n s t h i m as m a n a g e r . S e e Chon Tri v. J.T.T., 1 6 2 S . W . 3 d 5 5 2 , 5 6 2 ( T e x . 2 0 0 5 ) ; Leitch v.

Hornsby, 9 3 5 S . W . 2 d 1 1 4 , 1 1 7 ( T e x . 1 9 9 6 ) ; Gipson v. Wal-Mart Stores Texas, LLC, 2 0 0 8 W L

4 8 4 4 2 0 6 ( S . D . T e x . ) ( h o l d i n g that e m p l o y e e d i d n o t o w e a c u s t o m e r a d u t y o f reasonable care

independent            f r o m t h e d u t y o w e d b y t h e e m p l o y e r ) ; Allen v. Home Depot U.S.A., Inc.,

S A - 0 4 - 0 C A 7 0 3 X R , 2004 W L 2 2 7 0 0 0 0 1 ( W . D . T e x . Oct 6, 2 0 0 4 ) (holding that there w a s n o

p o s s i b i l i t y o f r e c o v e r y against m a n a g e r f o r negligent s u p e r v i s i o n c l a i m ) . V a r i o u s Federal D i s t r i c t

Courts have also h e l d that j o i n d e r o f a retailer's manager w a s i m p r o p e r because the manager d i d not

o w e a n i n d e p e n d e n t d u t y o f care t o c u s t o m e r .




                                                                                                                                                                      3
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             13.          Finally, the                      o f Charles R o d r i g u e z i n this suit is s i m p l y for the purpose o f

defeating diversity j u r i s d i c t i o n and there is n o basis i n Texas l a w for his joinder.

                                                                  II.    CONCLUSION

                          P l a i n t i f f has n o reasonable basis o f r e c o v e r y u n d e r T e x a s l a w against the W a l - M a r t

Employee              his i n d i v i d u a l capacity. T h e r e f o r e , because the W a l - M a r t E m p l o y e e , D e f e n d a n t Charles

R o d r i g u e z , h a s b e e n i m p r o p e r l y j o i n e d as a D e f e n d a n t i n t h i s l a w s u i t , h i s c i t i z e n s h i p s h o u l d n o t b e

c o n s i d e r e d b y t h e C o u r t i n d e t e r m i n i n g w h e t h e r c o m p l e t e d i v e r s i t y e x i s t s i n t h i s case. I f h i s

c i t i z e n s h i p is p r o p e r l y disregarded, i t carmot be disputed that c o m p l e t e d i v e r s i t y exists b e t w e e n the

o t h e r parties for r e m o v a l purposes. Further, i n the                                            P l a i n t i f f s h o u l d be required to s h o w

t h e C o u r t that h e i s either a legal c i t i z e n o f T e x a s o r " a n a l i e n a d m i t t e d t o t h e U n i t e d States f o r

p e r m a n e n t residence" as required b y 28 U . S . C .                                     i n order to s h o w that he i n fact s h o u l d b e

c o n s i d e r e d a c i t i z e n o f t h e S t a t e o f T e x a s . I f s h e c a r m o t d o so, t h e n c o m p l e t e d i v e r s i t y o f t h e p a r t i e s

exists regardless o f w h e t h e r i t is f o u n d that t h e W a l - M a r t E m p l o y e e has or has n o t b e e n i m p r o p e r l y

j o i n e d i n t h i s case. F o r t h e s e r e a s o n s , t h i s c a s e h a s b e e n p r o p e r l y r e m o v e d t o t h i s C o u r t f r o m t h e

3 7 t h Judicial District Court, Bexar C o u n t y , Texas, based o n diversity jurisdiction.

                                                                                                                    2016.

                                                                             Respectfully

                                                                             D A W & RAY,           LLP

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                                                                            ATTORNEYS E O R DEFENDANTS


                                                                                                                                                           Page 4
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                                      CERTIFICATE OF SERVICE


          T h e undersigned does hereby certify that a true and correct copy o f the above and foregoing
               has been served u p o n a l l    counsel            by Facsimile       this the


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                                                             (Ben Daw,
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                                                                                                     Page 5
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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

PATRICIA CHAMPION                                                                 §
                                                          §
VS.                                                           §                                 NO.
                                                          §
W A L - M A R T S T O R E S T E X A S , L.L.C.,                   §
W A L - M A R T R E A L ESTATE BUSINESS                                   §
TRUST D/B/A W A L - M A R T SUPERCENTER                               §
#2599, W A L - M A R T R E A L T Y C O M P A N Y ,                            §
AND CHARLES RODRIGUEZ                                 §                               JURY DEMANDED

                                    INDEX OF DOCUMENTS FILED
                                      WITH REMOVAL ACTION

        (A)                  Original Petition

        (B)     Citations

        (C)     Defendants' Verified Original A n s w e r

        (D)     Defendants' Application for Jury T r i a l

        (E)     Special Exceptions

        (F)     Notice o f Filing o f R e m o v a l to Federal Court

        (G)     D o c k e t Sheet

        (H)     List o f Counsel o f Record
